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FILED

UNITED STATES D'STRICT COURT
ALBUQUERCIUE, NEW MEXICO
IN THE UNITED STATES DISTRICT COURT
JUN 17 2019

FOR THE DISTRICT OF NEW MEXICO

MITCHELL R, ELFERS

UNITED STATES OF AMERICA,
CLERK

Plaintiff,
Vv. No. CR 18-4176 JB
STERLING ISLANDS, INC.,
AL-ZUNI GLOBAL JEWELRY, INC.,
JAWAD “JOE” KHALAF,
NADER KHALAF,
NASHAT “NASH” KHALAF,
ZAHER MOSTAFA, and
TAHA “TOM” SHAWAR
Defendants.

ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION TO
EXTEND THEIR REPLY AND EXPERT NOTICE DEADLINES

THIS MATTER, having come before the Court upon the Defendants’ Unopposed Motion
to Extend Reply and Expert Notice Deadlines (“Motion”), and the Court, having considered the
Motion, being advised in the Motion’s premises, being advised that the extensions requested will
not cause any delay in the proceedings, and being advised that the Plaintiff United States of
America does not oppose the motion, FINDS that, under 18 U.S.C. § 3161(h)(7) and United
States v. Toombs, 713 F.3d 1273 (10th Cir. 2013), the ends of justice served by granting a two-
week extension to Defendants’ deadline to reply to the United States’ Response to the Motion to
Dismiss Count 1 [Doc. 59], and the deadline to disclose their expert notices in paragraph 3 of the
Scheduling Order [Doc. 42] outweigh the best interest of the public and Defendants in adhering
to the deadlines imposed by the Scheduling Order and the Court’s Local Rules, and there exists
good cause for a two-week extension of these deadlines, and, thus, CONCLUDES that the

Motion is well taken and should be granted.

 
 

 

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IT IS, THEREFORE, ORDERED that: |
(i) Defendants’ deadline to reply to the United States’ Response to the Motion to Dismiss
Count 1 [Doc. 42] is extended for two weeks, until June 21, 2019; and

(ii) Defendants’ deadline to file their expert notices and reports is extended for two

weeks, until June 21, 2019.
Q (boc

TED STATES DISTRICT COURT JUDGE
SUBMITTED:

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

By ___/s/ Matthew M. Beck
Matthew M. Beck

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By ___/s/ Mark T. Baker

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--and--
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By ___/s/ Ahmad Assed

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